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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 JENNIFER VANDERSTOK, et al.,                   §
                                                §
        Plaintiffs,                             §
                                                §
                                                §
 v.                                             §   Civil Action No. 4:22-cv-00691-O
                                                §
 PAMELA BONDI, in her official capacity         §
 as Attorney General of the United States,      §
 et al.,                                        §
                                                §
        Defendants.                             §

                                            ORDER

       Before the Court is the parties’ Joint Status Report (ECF No. 290) informing the Court that

the challenged rule falls within the purview of the Attorney General’s review under Exec. Order

No. 14,206, 90 Fed. Reg. 9503 (Feb. 12, 2025) and requesting to stay the case until the Attorney

General’s review is complete. Intervenor Plaintiff Defense Distributed does not join the stay

request, however. The Court therefore ORDERS Intervenor Plaintiff Defense Distributed to

respond and explain its opposition no later than June 6, 2025, at which point the Court will

determine whether a stay is warranted.

       SO ORDERED this 30th day of May, 2025.



                                              _____________________________________
                                              Reed O’Connor
                                              UNITED STATES DISTRICT JUDGE
